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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                        :       Honorable Douglas Arpert

                                                        Mug. No. 12-2547 (DA)

 SCOTT MAZZARA

                                                        ORDER FOR CONTINUANCE


        This matter having been opened to the Court by Paul J. Fishman, United Slates Attorney for

the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing), and

defendant SCOTT MAZZARA (Michael Baldassare, Esq., appearing), for an order granting a

continuance of the proceedings in the abovcéaptined matter; and three continuances having

previously been granted; and the defendant being aware that he has the right to have the matter

presented to a Grand Jury within thirty (30) days of the date of his arrest pursuant to Title 18 U.S.C.

§ 3161; and the defendant through his attorney having waived such rights and consented to the
continuance; and for good and sufficient cause shown,

       IT IS TI-lB FINDING OF THIS COURT that this action should be continued for the

following reasons:

               1. Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

               2, Defendant has consented to the aforementioned continuance.

              3. The grant of a continuance will likely conserve judicial resources.

              4. Pursuant to Title 18 of the United States Code, Section 3161(h)(7)(A), the ends

      ofjustice served by granting the continuance outweigh the best interests of the public and the

      defendants in a speedy trial.
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          WHEREFORE, on this day of

          ORDERED that the proceedings in the above-captioned matter are continued from December

 21, 2012 through February 19, 2013; and it is further

          ORDERED that the period between from December 21, 2012 through February 19, 2013

 shall be excludable in computing time under the Speedy Trial Act of 1974.




                                      HON. DOUGL S RPERT
                                      United States gi rate Judge




consent    t



JO     HAN ROMANKOW
A si ant US. Attorney




MICHAEL BALDASSARE, Esq.
Counsel for Defendant Scott Mazzara
